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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

                                                       :
CITIZENS BANK, N.A.,                                   :
                                                       :
                         Plaintiff,                    :
                                                       :
        vs.                                            :    C.A. No.: 1:18-cv-00003
                                                       :
REGENT INSURANCE COMPANY,                              :
                                                       :
                         Defendant.                    :
                                                       :
                                                       :

                                          COMPLAINT

        Plaintiff Citizens Bank, N.A. (“Citizens Bank”), as and for its Complaint against Regent

Insurance Company (“Regent”), alleges as follows:

                                  PARTIES AND JURISDICTION

        1.      Citizens Bank is a national banking association that is headquartered in

Providence, Rhode Island. Citizens Bank was formerly known as “RBS Citizens, N.A.”

(“RBS”). Citizens Automobile Finance, Inc. (“Citizens Auto”) merged into RBS in July of 2012

(collectively with Citizens Bank and RBS, “Citizens”).

        2.      Regent is an insurer organized and existing pursuant to the laws of the State of

Wisconsin and is licensed to transact insurance business in the State of Rhode Island.

        3.      This Court has jurisdiction based on 28 U.S.C. § 1332, in that the parties are of

diverse citizenship and the matter in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs.

        4.      This Court also has jurisdiction based on 28 U.S.C. § 1331, in that this case arises

under federal law.
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                                   FACTUAL ALLEGATIONS

       5.      Sud’s Motor Car Co., Inc. (“Sud’s”) is an automobile dealer that sold motor

vehicles at retail prices to customers.

       6.      In 2004, Sud’s entered into a Retail Finance Dealer Agreement (“RFDA”) with

Citizens Auto. In 2012, Sud’s entered into a materially identical Dealer Agreement with RBS

(collectively with the RFDA, the “Agreements”).

       7.      The Agreements permitted Sud’s to offer to sell to Citizens retail installment

contracts secured by the vehicles that Sud’s sold to its retail customers. Stated otherwise, the

Agreements authorized Sud’s to make auto loans on Citizens’ behalf.

       8.      Under the relationship established by the Agreements, Sud’s interacted with and

made sales to its customers. Citizens, however, did not directly deal with Sud’s customers.

Instead, Citizens merely held the promissory notes for the auto loans.

       9.      In 2012, Sud’s sold a vehicle to Louis Wexberg. In connection with this sale, Mr.

Wexberg and Sud’s entered into an installment agreement, which Sud’s subsequently sold to

Citizens pursuant to the terms of the Agreements.

       10.     Mr. Wexberg, however, was not happy with this sale, allegedly because Sud’s

failed to provide him with title to the vehicle, such that he was unable to register it in the State of

Missouri.

       11.     As a result, on or about February 19, 2015, Mr. Wexberg brought suit in the

Circuit Court of the City of St. Louis, Missouri against Sud’s, Citizens Auto, and RBS (the

“Missouri Lawsuit”).

       12.     In the Missouri Lawsuit, Mr. Wexberg alleges that Sud’s’ sale of the vehicle to

him is void because Sud’s did not provide him with a proper certificate of title in violation of



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Missouri law. Mr. Wexberg brings a single claim against Sud’s, Citizens Auto, and RBS, for

violation of the Missouri Merchandising Practices Act (“MMPA”). Mr. Wexberg alleges that

RBS and Citizens Auto are liable for violation of that MMPA because they “are the assignees of

the [installment contract between Mr. Wexberg and Sud’s], and therefore are subject to all claims

and defenses that could have been asserted against Suds.”

       13.       At the time of Sud’s alleged misconduct, Sud’s and Citizens were covered by an

insurance policy issued by Defendant, policy number CGP0421163 (the “Policy”).

       14.       Citizens is an Insured under the Policy, inter alia, pursuant to an endorsement

entitled “Illinois Changes – Garage Coverage Form.” This endorsement changes the definition

of an “Insured” under the Policy to include Sud’s, as well as “[a]nyone liable for the conduct of

an ‘Insured.’”

       15.       Sud’s tendered defense and indemnification of the Missouri Lawsuit to

Defendant. Defendant accepted the tender and retained counsel for Sud’s in connection with the

Missouri Lawsuit.

       16.       Citizens requested defense and indemnification from Sud’s in connection with the

Missouri Lawsuit.

       17.       Defendant agreed to defend and indemnify Citizens under the Policy on or about

June 25, 2015. The attorney retained by Defendant to represent Sud’s advised Citizens that he

had the “authority to assume the defense and indemnity of the bank.” Thereafter, counsel

retained by Defendant represented Sud’s and Citizens in the Missouri Lawsuit.

       18.       Subsequently, Citizens and Sud’s determined that both parties required separate

counsel due to a conflict of interest. At that point in time, Defendant retained separate defense

counsel to represent Citizens in the Missouri Lawsuit.



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       19.     At all times, Defendant has defended Citizens in the Missouri Lawsuit.

       20.     On November 29, 2017, Citizens learned that Defendant agreed to pay the Policy

limits in settlement of Mr. Wexberg’s claims against Sud’s in the Missouri Lawsuit, in exchange

for Mr. Wexberg’s dismissal of his claims against Sud’s.

       21.     Despite the fact that Defendant owes Citizens a duty to defend and indemnify,

Defendant exhausted the Policy limits without settling Mr. Wexberg’s claim against Citizens in

the Missouri Lawsuit, which remains pending as against Citizens.

       22.     Citizens confronted Defendant with respect to its failure to settle Mr. Wexberg’s

claims against Citizens, at which point Defendant claimed for the first time that Citizens was not

entitled to defense and indemnity under the Policy, because Citizens was not an Insured as

defined by the Policy.

       23.     Stated otherwise, although Citizens and Sud’s both were Insureds under the

Policy, Defendant expended the Policy limits to settle the claims against only Sud’s in the

Missouri Lawsuit, and almost immediately attempted to disclaim coverage of the other Insured,

Citizens.

  COUNT I – DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. §§ 2201, et seq.

       24.     Citizens incorporates by reference the allegations set forth in Paragraphs 1

through 23 as though fully set forth herein.

       25.     An actual controversy exists between Citizens and Defendant concerning whether

Citizens is an Insured under the Policy and whether Defendant has a duty to defend and

indemnify Citizens with respect to the Missouri Lawsuit.




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       26.     Accordingly, pursuant to 28 U.S.C. § 2201(a), Citizens seeks a judicial

declaration that Citizens is an Insured under the Policy and that Defendant has a duty to defend

and indemnify Citizens with respect to the Missouri Lawsuit.

          COUNT II – VIOLATION OF R.I. GEN. LAWS § 9-1-33 (BAD FAITH)

       27.     Citizens incorporates by reference the allegations set forth in Paragraphs 1

through 26 as though fully set forth herein.

       28.     By failing to recognize its obligation to defend and indemnify Citizens under the

Policy, by informing Citizens that it was entitled to defense and indemnity and then reneging on

that statement, and/or by exhausting the Policy limits in settlement of Mr. Wexberg’s claims

against Sud’s only, Defendant wrongfully and in bad faith refused to pay or settle a claim

pursuant to the provisions of the Policy, or otherwise wrongfully and in bad faith refused to

timely perform its obligations under the Policy.

       29.     As a result of Defendant’s wrongful and bad faith conduct, Citizens has been

damaged in an amount to be determined at trial.

       30.     Pursuant to R.I. Gen. Laws § 9-1-33, Citizens also is entitled to punitive damages

and reasonable attorneys’ fees as a result of Defendant’s wrongful and bad faith conduct.

                          COUNT III – PROMISSORY ESTOPPEL

       31.     Citizens incorporates by reference the allegations set forth in Paragraphs 1

through 30 as though fully set forth herein.

       32.     Defendant clearly and unambiguously promised to defend and indemnify Citizens

with respect to the Missouri Lawsuit.

       33.     Citizens reasonably and justifiably relied on Defendant’s promise to defend and

indemnify Citizens with respect to the Missouri Lawsuit, to its detriment.



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       34.    Accordingly, Defendant is estopped from refusing to defend and indemnify

Citizens with respect to the Missouri Lawsuit.

       35.    As a result of Citizens’ detrimental reliance on Defendant’s promise to defend and

indemnify Citizens, Citizens has been damaged in an amount to be determined at trial.

       WHEREFORE, Citizens requests that this Court:

              1. Enter judgment in favor of Citizens and against Defendant on all Counts;

              2. Issue a declaratory judgment that Citizens is an Insured under the Policy and

                  that Defendant has a duty to defend and indemnify Citizens;

              3. Award Citizens its damages, including, but not limited to, compensatory,

                  consequential, and incidental damages in an amount to be proven at trial, plus

                  interest thereon at the legal rate until paid in full;

              4. Award Citizens punitive damages and reasonable attorneys’ fees for

                  Defendant’s violation of R.I. Gen. Laws § 9-1-33;

              5. Award Citizens its costs; and

              6. Grant such other and further relief as this Court may deem just and proper.

                                        JURY DEMAND
       Citizens demands a trial by jury on all issues so triable.




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Dated: January 2, 2018
                                   Plaintiff,
                                   CITIZENS BANK, N.A.,
                                   By its Attorneys,


                                   /s/ Geoffrey W. Millsom
                                   Geoffrey W. Millsom (#6483)
                                   Brenna Anatone Force (#8555)
                                   ADLER POLLOCK & SHEEHAN P.C.
                                   One Citizens Plaza, 8th Floor
                                   Providence, RI 02903-2443
                                   Tel: (401) 274-7200
                                   Fax: (401) 351-4607
                                   gmillsom@apslaw.com




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